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                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERII DISTRICT OF ILLINOIS
                                       EASTERN DIVISION
                                                                                                          RECE IVE D
                                                                                                                    AUG     13202h

gtsb si                                                                                                      THOMAS G. BRUTON
                                                                                                          CLERK. U.S. DISTRICT COURT


Q),ttc+to,    -P       6oLza                                            CryL ACTION
(Name ofthe plaintiff or plaintiffs)

                    v.                                                            1:21-cv-04338
 (,ft rc*G- ? vbl,< g),,^is                                                Judge Virginia M. Kendall
                                                                        Magistrate Judge Sunil R. Harjani
t4- Lt ,     btEo a                                                                 RANDOM

l'-htrts- P- bobn*YVr;
Y+
(Name ofthe defendant or defendants)



                         COMPLAINT OF EMPLOYMENT DISCRIMINATION

l.   This is an action for employment discrimination.

2.   The plaintiff is                                                                                                        of the

county   of Ce> ol/--                                                in the state of

3. rhe defendant is C klt                 ct6,.              ?q bt ,< I c L"- lr                                            , whose

street address      is UL l) -                 fT1   ftQlS', *               6o    I oz-YV t ?
@itg   (/hL1*-                  (county)       (
                                                   -*W             (state)*                        @rn       aobo\-w t)
(Defendant's telephone number)                      @)-            S   s3-l     ob    t/

4.   The plaintiff souglrt employment or was employed by the defendant at (street address)

     tlltU               S. ST kouts                  Sr                              gr,9    AhC+bp
     (counti-C6,J9-(state;                     P               (ZIP code)       bobA-y.,ltJ



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5.   The    plaintiff lcheck one boxf

     @{                was denied employment bythe defendant'


     o)E               was hired and is still employed by the defendant.

     (.)fI              was employed but is no longer employed by the defendant.


6.   The defendant discriminated against the plaintiff on or about, or beginning on or about,
     (month)         /AA<-tr* , (auy)-l-                        ,   (year)   zF I *

7.1    (Choose paragraph 7.1                 or 7.2. do not complete both.)
                       (a) The defendant is not a federal governmental                    agency, and the       plaintiff lcheck

                            one    boxl     Aro'ffo,                      filed a charge or chmges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the following

govemment agencies:


        (i)                   the United States Equal Employment Opportunity Commission, on or about

                       (month)f{
                          -----r--                       @ug2-(yea.) bzl
           (ii)
                      ,a,          Illinois Department of Human Rights, on or about
                     W"
                       (month)      Ia                   @ui-2-(year) %r(
     (b) Ifchargesweref/,ed                   h an agency indicated above, a copy of the charge is


attached.          Mtrt.              E     *O, but plaintiffwill tile a copy of the charge within                       14 days.


It is the policy of both the Equal Employment Opportunity Commission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received. The
plaintiffhas no reason to believe that this policy was not followed in this                             case.



7.2         The defendant is a federal governmental agency, and
           (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

           defendant asserting the acts of discrimination indicated in this court complaint.



                                                                      2


              [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
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                       tr          Yes (month)                                  (day)_              (year)


                       n          No, did not file Complaint of Employment Discrimination

     (b)         The plaintiff received a Final Agency Decision on (month)
                 (dav)                   $ear)
     (c)         Attached is a copy of the

                 (i)     -
                       Complaint of Employment Discrimination,

                       E                 fl    *o,    but a copy will be filed within 14 da1a.
                             "ts
                 (ii) Final Agency Decision


                       E                 n      *O, but a copy will        be filed    within    14 days.
                             "rS

8.   (Complete paragraph 8 only if defendant is not afederal governmental agency.)


     (")n              the United States Equal Employment Opportunity Commission has not issued


                       aNotice of Right to        Sue.


     .,F               the United States Equal Employment Opportunity Commission has issued a

                       Notice of Right to Sue, which was received by the plaintiff on
                       (month)      l^                   (drv)-l-              gea) 2-cz           I   a copy   ofwhich
                       Notice is attachdd to this complaint.


9.   The defendant discriminated against the plaintiff because ofthe plaintiff s lcheck only
     those that applyf:


     @)A          Age (Age Discrimination Employment Act).

     @)n           Color (Title VII of the Civil Rights Act              of   1964   and42 U.S.C. $1981).


                                                               a
                                                               J


       [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
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       [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




      t.)fl      Disability (Americans with Disabilities Act or Retrabilitation Act)

      (d)n       National Origin (Title Vtr of the Civil Rights Act                  of 1964 and42         U.S.C. $1981).

      (")E       Race (Title    VII of the Civil Rights Act of             T964 and42 U.S.C. $1931).

      (Dn        Religion (Title VII of the Civil Rights Act               of   1964)

      (g)E       Sex (Title    vII   of the Civil Rights Act         of   1964)


10.   If the defendant is a state, county, municipal (city, town                  or village) or other local

      governmental agency, plaintiff further alleges discrimination on the basis of race, color,

      or national origin (42 U.S.C. $ 1983).

11.   Jurisdiction over the statutory violation alleged is conferred as follows: for Title                             VII
      claims by 28 U.S.C.$ 1331,28 U.S.C.$1343(a)(3), and 42 U.S.C.$2000e-5(f)(3); for

      42 U.S.C.$ 1981 and $ 1983 by 42 U.S.C.$1988; for the A.D.E.A.by 42 U.S.C.$12117;

      for the Rehabilitation Act, 29 U.S.C. $ 791.


t2.   The defendantlcheck only those that applyl


      (a)   u        failed to hire the plaintiff.

      (b)
            F       terminated the plaintiff s employment.

      (c)   tr       failed to promote the plaintiff.

      (d)   n        failed to reasonably accommodate the plaintiff s religion.

      (e)   tr       failed to reasonably accommodate the plaintiff s disabilities.

      (0             failed to stop harassment;
            W
      (g)   M        retaliated against the plaintiff because the plaintiffdid something to assert
                     rights protected by the laws identified in paragraphs 9 and 10 above;

      G)E            other(specify):        T       t*o Ul)        't,rrT (p ofnde*zy r nr co^nft7
       fiuvY\'fr       lLtPn{rvt> ('prpln,,e> -p tffi-liry-ffi,
                                     +ZT
                                             I
       € Vcunve DftcLlaw of oFtu'r'fi;rs F-"'\ btul u€ sf zot{
       To €+-u, Lozt
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13.         The facts supporting the plaintiff s claim of discrimination are as follows:




                  tlL€ '                             orJ   - B l*t/                       oq€zJ           T're
              tnu lrl,o,t                                   eqb                 nc^{1             tl ,+t       Sq   b edZ-\

                       h{+<     S   ft--J-                         aLaq                                   /o1zo zl             .T
            l^/   fr{ Jrs 1L-7.r
14.         IAGE DISCRIMINATION ONLYI Defendant knowingly, intentionally, and willfully
            discriminated against the plaintiff.

15.         The plaintiff demands that the case be tried by                 a   jury. ffi   ttS          E*o
                                                                                      t
16.       THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
       lcheck only those that app$


      (a)   tr       Direct the defendant to hire the plaintiff.

                     Direct the defendant to re-employ the plaintiff.
      (b)
            E
      (c)   tr       Direct the defendant to promote the plaintiff.

      (d)   u        Direct the defendant to reasonably accommodate the plaintiff                          s   religion.

      (e)   u        Direct the defendant to reasonably accommodate the plaintiff                          s   disabilities.

      (0
            E         Direct the defendant to         (specifg:       9 wvut>                tt -eT Cu OPrOr,*                  7-
      4aM7T- FTt Leu. ' hrfr,4t *f\a D+r-as- f k72-u&
      P €"8 /D ToZt>zt ? (rnspt!n2T, -tf',Tf^e{.Dfhc€
      ftND'|ftr"     €oco,'i* m't? Fl€ 6'*{'' +7ert?Ks
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         [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




   rsrp              If available, grant the plaintiff appropriate injunctive relief, lost wages,
                     liquidated/double damages, front pay, compensatory damages, punitive damages,
                     prejudgment interest, post-judgment interest, and costs, including reasonable
                     attorney fees and expert witness fees.

   GE                Grant such other relief as the Court may find appropriate.



   (Plaintiff    s




   (Plaintiff     s street address)


frt9Q S. {qsnne
Othta-f*                   *               bol?..,
<citt   hhLtGa                         (State)                    {nry /o        Lu:
(Plaintiffs telephone number)             (yb -'7           B   8- I     Aq    5

                                                                              on", frUbu                   sf        /7, z*z I



                                                                 6


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EEOC Form 5 (11/09)
                                                                                                                                      Agency(ies) charge
                      CnRRCE Or DISCNIMINATION                                                 charge Presented           ro:
         This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                Statement and other information before completing this form.                           tr EEoc
                                                                                                             FEPA

                                                                                                       tr                              440-2021-02707
                                          ILLINOIS DEPARTMENT OF HUMAN RIGHTS                                                                        and EEOC
                                                                  State or local Aqency,   ifany
Name (indicate Mr., Ms., Mrs.)                                                                                       Home Phone                    Year of Birth

MR. ZACHARY SMMITH                                                                                              (7731788-869s                        L962
   Address
Street                                                                    City, State and ZIP Code

8158 S. JUSTINE, CHICAGO,IL                           60620

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I Believe Discriminated Against Me or Others. (lf more than two, list under PARTICUIARS below.l
Name                                                                                                         No. Emptoyees, Members              Phone No,

CHICAGO PUBLIC SCHOOLS                                                                                              501+                 (77315s3-1064
Street Address                                                            City, State and ZIP Code

WAREHOUSE, 4720 S. ST. LOUIS                                 sr., cHIcAGo, IL 60602
Name                                                                                                         No. Employees, Membe6               Phone No.



Street Address                                                            City, State and ZIP Code




DISCRIMINATION BASED ON (Check        appropiate box(es).)                                                           DATE(S) DISCRIMINATION TOOK PI.ACE
                                                                                                                            Earliest                   Latest

    I      nece       cor-on l--l st* [ ner-rcror,r n rvrrrouaLoRtctN
                      f                                                                                               02-LO-202L O2-LO-202L
         fTl pgrAlrrrroN lTl ecE I orsnerr-rw I ceurtrc rNFoRMArloN
             | | ornen 6peciry)                                                                                              I        cor,rrrr'rurNcAcroN

THE PARTICUI-ARS ARE (lf additional paper is needed, attach     ertra sheet(s)):
    I began my employment with Respondent in or around September 2OL7. My most recent
    position was Equipment Service Technician. During my employment, I was also subiected to
    different terms and conditions of employment, including but not limited to not being allowed
    to go to training, Iike younger, non-black employees. I reported fraudulent activity.
    Subsequently, I was subiected to harassment and on or about February lO,2OZl,l was
    discharged.
    I believe I was discriminated against because of my race, Black, and retaliated against, in
    violation of Title Vll of the Civi! Rights Act of L964, as amended.
    I believe I have been discriminated against my age, 59 (YOB: 1961), in violation of the Age
    Discrimination in Employment Act of 1967, as amended.


I want this charge filed with both the EEOC and the State or local Agency,            NOTARY       -   When necessary for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                     I swear or affirm that I have read the above charge and that                 it
I declare under penalty of perjury       that the above is true and correct.          is true to the best of my knowledge, information and belief.
                                                                                      SIGNATURE OF COMPLAINANT



        Digitally signed by Zachary Smmith on O5-13-2O21                              SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                 O1:18 PM EDT                                         (month, day.       yeai
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a, ,n.,orrr" with EEOC Form   5 (1U09)

Pnvacv Acr SrareMENr: Under the Privacy Act of L974, Pub. Law 93-579, authority to
request personal data and its uses are:
1.     FoRrut   NuMsen/Trle/Dnre,           EEOC Form 5, Charge of Discrimination (11-109).

2.     Aurxonlw.          42 u.s.c. 2000e-5(b), 29 u.s.c. 21L,29 u.s.c. 626, 42 u.s.c' L2ll7 ,42 u.s.c.
200off-6.

3,    Pnttcrpal PuRposes. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or local proceedings.
4.   Rourtue Uses. This form is used to provide facts that may establish the
existence of matters covered by the EEOC statutes (and as applicable, other federal,
state or local laws). Informatioh given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate cl-aims of
unlawf[l discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5.   Wxerxen Dtscr-osune ts MetoAToRy; Errecr or Nor Grutnc luronuarloN. Charges
must be reduced to writing and should identify the charging and responding parties
and the actions or policies complained of. Without a written charge, EEOC will
ordinarily not act on the complaint. Charges under Title Vll, the ADA or GINA must be
sworn toor affirmed (either by using this form or by presenting a notarized statement
or unsworn declaration under penalty of perjury); charges under the ADEA should
ordinarily be signed. Charges may be clarified or amplified later by amendment. lt is
not mandatory that this form be used to make a charge.
                       Nonce or Rtcxr ro ReQuesr SussraNrnl Wrlcnr Revlew

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files -harges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told wfricfr agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantia! Weight Review to the FEPA's final findings, you must
ask us in writing to do so within L5 days of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the charge.
                                    Nonce or Not-RETALtATtoN ReQulneMeNrs

Please notify EEOC or the state or local agency where you filed your charge if
retaliation is taken against you or others who oppose discrimination or
cooperate in any investigation or lawsuit concerning this charge. Under Section
704(a) of Title Vll, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section
207(t) of GINA, it is unlawful for an employerto discriminate against present or former
employees or job applicants, for an employment agency to discriminate against
anyone, or for a union to discriminate against its members or membership applicants,
because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an
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investigation, proceeding, or hearing under the laws. The Equal Pay Act has similar
provisions and Section 503(b) of the ADA prohibits coercion, intimidation, threats or
interference with anyone for exercising or enjoying, or aiding or encouraging others in
their exercise or enjoyment of, rights under the Act.
